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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION

DAKOTANS FOR HEALTH,
RICK WEILAND, AND ADAM WEILAND,

Plaintiffs,

Vv.

LEAH ANDERSON, MINNEHAHA
COUNTY AUDITOR, SUED IN HER
OFFICIAL CAPACITY, AND JEAN
BENDER, DEAN KARSKY, GERALD
BENINGA, JEN BLEYENBERG, AND JOE
KIPPLEY, MINNEHAHA COUNTY
COMMISSIONERS, ALL SUED IN THEIR
OFFICIAL CAPACITIES,

Defendants.

4:23-cv-04075-RAL

JOINT STIPULATION FOR ORDER OF
DISMISSAL WITH PREJUDICE

The parties, by and through counsel, inform the Court that the parties have resolved the

sole remaining issue concerning Plaintiffs’ claim for costs and attorney’s fees and hereby jointly

stipulate that the Court may enter an Order dismissing Plaintiff's Complaint with prejudice.

Date: January 5 , 2024,

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Attomey for Plaintiffs

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